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  July 31, 2024

  VIA ECF

  The Honorable Georgette Castner
  United States District Judge
  Clarkson S. Fisher Bldg. & U.S. Courthouse
  402 E. State Street
  Trenton, NJ 08608


         Re:         Edwin H. Stier, Esq, as Wind Down Trustee for MLS Berkowitz Investments,
                     LLC v. Diego Possebon, et al.; Case No. 24-cv-04647-GC-RLS

  Dear Judge Castner:

         We represent defendant Banco BTG Pactual S.A. (“BTG”). Pursuant to Your Honor’s
  individual rules of practice, we write to request a pre-motion conference on BTG’s anticipated
  motion to dismiss for lack of personal jurisdiction and failure to state a claim.

         Plaintiff has filed a 104-page Complaint that sues approximately 200 defendants. BTG is
  referenced in only four paragraphs of the Complaint:

         1.          Paragraph 102, which alleges that BTG is a business entity with its principal
                     business address in Brazil;

         2.          Paragraph 333, which alleges: “Upon information and belief, the initial destination
                     for some or all the funds is an account held by [codefendant] Metalsur at BTG
                     Pactual;”

         3.          Paragraph 390, which defines the “Aiding and Abetting Defendants” to include
                     BTG and two dozen other defendants; and

         4.          Paragraph 391(k), which alleges that BTG “substantially assisted the scheme by
                     holding, concealing, and facilitating the transfer of the illicit proceeds.”


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         These allegations are neither sufficient to state a prima facie case of personal jurisdiction
  over BTG, nor are they sufficient to state a plausible claim against BTG.

  Personal Jurisdiction

          BTG is a Brazilian bank with its principal place of business in Brazil. It does not have any
  branches or offices in New Jersey or any other US state. It was served with process in Brazil under
  the Hague Convention. BTG is not “at home” in the US, and thus, is not subject to general
  jurisdiction here. See Daimler AG v. Brauman, 571 U.S. 117, 127 (2014) (holding that a defendant
  is subject to general personal jurisdiction only where it is “at home”).

          Nor is BTG subject to specific jurisdiction in New Jersey or any other US state. Plaintiff
  has not alleged, nor can he prove, any relevant conduct that BTG purposefully directed at New
  Jersey (or any other US state) such as to establish sufficient “minimum contacts” here or that his
  claims “arise out of or relate to” those contacts. Burger King Corp. v. Rudzewicz, 471 U.S. 462,
  472-73 (1985). The accounts in question were not opened by the underlying debtor or anybody
  else from the US. They were opened by codefendant Metalsur, which is a Brazilian company
  located in Brazil. See Complaint ¶¶ 40, 333.

         Metalsur opened the accounts in Brazil; the accounts were denominated in Brazilian
  currency; they were governed by Brazilian law; and they were wholly maintained and administered
  by BTG in Brazil. All the funds deposited into the accounts were drawn on Brazilian banks, and
  all payments from the accounts were initiated by Metalsur and paid to accounts at other Brazilian
  banks.

          The Supreme Court has made clear that the focus of personal jurisdiction is on the conduct
  of the defendant in question—not the location of the plaintiff, the location of the injury, or the
  conduct of other defendants. See Walden v. Fiore, 571 U.S. 277, 285 (2014). Here, there are simply
  no allegations (and certainly no proof) of any conduct by BTG relating to these accounts that
  occurred in or was purposefully directed at New Jersey or any other US state.

  Failure to State a Claim

          To survive a motion to dismiss for failure to state a claim, a complaint must contain
  “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
  (2007)). Although a court should assume the truth of factual allegations that are “well-pleaded,” it
  should not accept as true any “legal conclusion couched as a factual allegation.” Iqbal, 556 U.S.
  at 678-79.

         Here, Plaintiff is suing BTG for allegedly aiding and abetting fraud committed by other
  defendants. To state such a claim, Plaintiff must allege facts sufficient to show, among other things,
  that BTG both (1) knew of the fraud, and (2) substantially assisted the fraud. See, e.g., In re
  Norvergence, Inc., 405 B.R. 709, 746 (Bankr. D.N.J. 2009); In re Agape Litig. (“Agape II”), 773
  F. Supp. 2d 298, 307 (E.D.N.Y. 2011). Moreover, because this claim sounds in fraud, the factual
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  allegations must be made “with particularity.” Fed. R. Civ. P. 9(b). Plaintiff’s Complaint fails to
  adequately allege either element.

          No Actual Knowledge of the Fraud. “[P]leading knowledge for purposes of an aiding and
  abetting claim requires allegations of facts that give rise to a ‘strong inference’ of actual
  knowledge.” Agape II, 773 F. Supp 2d at 308 (citation omitted). Plaintiff’s Complaint is devoid of
  such allegations with respect to BTG.

         None of the Complaint’s four allegations that mention BTG allege anything about BTG’s
  knowledge of the fraud, let alone allow for a “strong inference” of actual knowledge. Although the
  Complaint does contain an allegation that “[t]he Aiding and Abetting Defendants” as a group had
  knowledge of the fraud based on “indicial of illegal conduct,” Complaint ¶ 392, such conclusory
  group pleading allegations are insufficient to satisfy Plaintiff’s pleading requirements. See, e.g., In
  re Norvergence, Inc., 405 B.R. at 726-27.

          Moreover, these allegations suggest at most that somebody in the defendant group should
  have known of the fraud, which is insufficient to state an aiding and abetting claim. Wiand v. Wells
  Fargo Bank, N.A., 938 F. Supp. 2d 1238, 1244-45 (M.D. Fla. 2013) (red flags “are insufficient to
  establish a claim for aiding and abetting because ... [they] do not create a strong inference of actual
  knowledge of wrongdoing”); Agape II, 773 F. Supp. 2d at 310 (“[E]ven alleged ignorance of obvious
  warning signs of fraud will not suffice to adequately allege actual knowledge.”) (quotations omitted).

          No Substantial Assistance. As noted earlier, Plaintiff alleges that BTG “substantially
  assisted the scheme by holding, concealing, and facilitating the transfer of the illicit proceeds.”
  Complaint ¶ 391(k). These allegations of substantial assistance are insufficient as a matter of law.

          The Complaint is clear that BTG’s role was nothing more than providing routine banking
  services. Banks process trillions of dollars per day in deposits and payments into and out of
  customer accounts, allowing commerce to flourish. In performing this function, banks are neither
  insurers of their customers’ behavior nor responsible for their customers’ misconduct.

          Recognizing this principle, “[t]he caselaw is clear that opening accounts and approving
  transfers, even where there is suspicion of fraudulent activity, does not amount to substantial
  assistance.” In re Agape Litig, 681 F. Supp. 2d 352, 365 (E.D.N.Y. 2010); see also Bane v. Sigmundr
  Expl. Corp., 848 F.2d 579, 582 (5th Cir. 1988) (“We are unable to find, as suggested by the
  plaintiffs-appellants, anything in these documents that goes beyond routine or typical banking
  practices to support an allegation of knowing substantial assistance.”).

         BTG respectfully requests the opportunity to discuss these issues at a pre-motion
  conference.1



  1
   To the extent that Plaintiff contends that BTG is also one of the 150-plus “Recipient Defendants,” BTG will also
  move for dismissal of such allegation for failure to state a claim and improper group pleading.
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  Respectfully,

  /s/ Andrew Braunstein

  Andrew Braunstein
  Counsel for Banco BTG Pactual S.A.

  cc:    Roger B. Cowie (pro hac vice) (via ECF)

         All parties entitled to notice (via ECF)

  AB:tdw
